       Case 4:11-cr-00243-SWW Document 44 Filed 11/15/12 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA                                           PLAINTIFF

vs.                               NO.   4:11CR00243-001

EDWARD EARL GRANT                                                  DEFENDANT


                                          ORDER

      Pending   before      the    Court     is     the    defendant’s      motion   for

reconsideration     of   bond     revocation       and    imposition   of    additional

conditions of release [doc #42].            The government has filed a response

objecting to the release of defendant but would not object to defendant

participating in inpatient drug treatment.

      The Court finds that defendant’s motion should be denied without

prejudice at this time.         The Court has been advised that the defendant

has been hospitalized and that his medical needs are currently being met.

Counsel may renew his motion when the defendant has been released from

the hospital, provided the U. S. Probation Office is able to find

placement for defendant in an inpatient drug treatment facility that can

address his medical needs.

      IT   IS   THEREFORE       ORDERED    that     the    defendant’s      motion   for

reconsideration     of   bond     revocation       and    imposition   of    additional

conditions of release [doc #42] be, and it is hereby, denied without

prejudice, and defendant will remain in the custody of the United States

Marshal.

      IT IS SO ORDERED this 15th day of November 2012.

                                                  /s/Susan Webber Wright
                                                  UNITED STATES DISTRICT JUDGE
